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                                     UNITED STATES BANKRUPTCY
                                      COURT FOR THE NORTHERN
                                   DISTRICT OF TEXAS FORT WORTH
                                              DIVISION

 IN RE:                                                        §         CHAPTER 11
                                                               §
 FOUNDATION HEALTHCARE, INC.,                                  §         CASE NO. 17-42571
                                                               §
                              DEBTOR.                          §         Complex Case
                                                               §         Jointly Administered
 -----------------------------------------------------------

                                                               §
 IN RE:                                                        §         CHAPTER 11
                                                               §
 UNIVERSITY GENERAL HOSPITAL, LLC,                             §         CASE NO. 17-42570-11
                                                               §
                              DEBTOR.                          §         Complex Case
                                                               §         Jointly Administered
 -----------------------------------------------------------             Under Lead Case



       DECLARATION OF JUNG W. SONG ON BEHALF OF DONLIN, RECANO &
       COMPANY, INC. REGARDING VOTING AND TABULATION OF BALLOTS
     ACCEPTING AND REJECTING DEBTORS’ FIRST AMENDED JOINT CHAPTER 11
              PLAN OF LIQUIDATION DATED AS OF AUGUST 8, 2017

                   I, Jung W. Song, declare, under penalty of perjury to the best of my knowledge,

 information, and belief:1

                   1.        I am a Managing Director at Donlin, Recano & Company, Inc. (“DRC”),

 located at 6201 15th Avenue, Brooklyn, New York 11219. I am over the age of 18 years and

 competent to testify.

                   2.        I submit this Declaration with respect to the Debtors’ First Amended

 Chapter 11 Plan of Liquidation Dated as of August 8, 2017 [Docket No. 106] (as may be amended,

 modified, and supplemented, the “Plan”). Except as otherwise indicated, all facts set forth herein



 1
      All capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Plan
      and the Conditional Order (each as defined below), as applicable.
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 are based upon my personal knowledge, information supplied to me by the Debtors or their

 advisors, including DRC, and my review of relevant documents. If I were called to testify, I could

 and would testify competently as to the facts set forth herein on that basis.

                3.      In accordance with the Supplement to Application for an Order Appointing

 Donlin, Recano & Company, Inc. as Claims and Noticing Agent for the Debtors Pursuant to 28

 U.S.C § 156(c), Effective as of the Petition Date [Docket No. 120], DRC assisted the Debtors in

 connection with, inter alia, soliciting, receiving, and tabulating Ballots accepting or rejecting the

 Plan.

 I.      Service and Transmittal of Solicitation Packages and Related Information

                4.      Pursuant to the Plan, holders of Claims in Classes 1, 4, and 5 as of the

 Voting Record Date were entitled to vote to accept or reject the Plan (the “Voting Classes”).

           Class                                        Type of Claim

          Class 1                      Allowed Secured Claims of Prepetition Lenders


          Class 4                              Allowed Priority Non-Tax Claims


          Class 5                            Allowed General Unsecured Claims


                5.      The procedures for the solicitation and tabulation of votes on the Plan are

 set forth in the Order (1) Conditionally Approving the Disclosure Statement, (2) Approving Form

 of Notice of Combined Hearing on Final Approval of the Disclosure Statement and Confirmation

 of the Plan, (3) Establishing Procedures for Voting for Voting on the Plan, (4) Fixing Date for

 Returning Acceptance or Rejections of the Plan, (5) Fixing Date for Filing Objections to the

 Disclosure Statement and Confirmation, (6) Setting Deadlines by which Governmental Entities

 must File Proofs of Claim, and (7) Setting Hearing on Final Approval of the Disclosure Statement


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 and Confirmation of the Plan [Docket No. 102] (the “Conditional Order”). DRC was instructed

 to solicit, review, determine the validity of, and tabulate Ballots submitted to vote for the

 acceptance or rejection of the Plan by the holders of Claims in the Voting Classes in accordance

 with the Conditional Order.

                             6.            On or around August 10, 2017, DRC posted links on the Debtors’

 restructuring website maintained by DRC at http://www.donlinrecano.com/fhi to provide parties

 with access to, among other documents, copies of the Plan, the Disclosure Statement in Support of

 Debtors’ First Amended Joint Chapter 11 Plan of Liquidation Dated as of August 8, 2017 [Docket

 No. 105], the Conditional Order, and the Confirmation Hearing Notice.

                             7.            In accordance with the Conditional Order, on August 9, 2017, DRC caused

 Solicitation Packages to be distributed to holders of Claims in the Voting Classes as of the Voting

 Record Date. DRC staff supervised the collating and mailing of the solicitation materials at the

 offices of DRC to the relavant parties as summariezed below.

                                            Foundation Healthcare, Inc. Voting and Non-Voting Package Breakdown
          Class/Group                                Description                                Items included in package              Qty         Date Mailed    Service Type
             Class 1                    Secured Claims of Prepetition Lenders          1. Ballot for Accepting or Rejecting Plan
             Class 4                          Priority Non-Tax Claims                  2. Confirmation Notice
                                                                                                                                   1002 parties     8/9/2017     USPS First Class
             Class 5                         General Unsecured Claims                  3. Disclosure Statement (including plan)
                                                                                       4. Order (without exhibits)
                                                   Master Service List                 1. Confirmation Notice
              MSL                                           IRS                        2. Disclosure Statement (including plan)     62 parties      8/9/2017     USPS First Class
                                                       US Trustee                      3. Order (without exhibits)
                                            All creditors not entitled to vote         1. Confirmation Hearing Notice
       Remaining Creditors        All equity security holders, as of Voting Record Date                                            17960 parties    8/11/2017    USPS First Class
                                   All former Patients included in the Patient Matrix
           Nominees                                     Nominees                        1. Confirmation Notice
                                                                                                                                   1121 parties     8/10/2017    USPS First Class
                                                                                        2. DRC instructional letter to nominees
 Financial Noticing Company                   Broadridge Financial Solutions            1. Confirmation Notice                       525 sets       8/11/2017 FedEx Overnight
 Financial Noticing Company                   Mediant Communications Inc.               1. Confirmation Notice                       10 sets        8/11/2017 FedEx Overnight



 II.           General Tabulation Process

                             8.            As specified in the Conditional Order, August 8, 2017 (the “Voting Record

 Date”) was established as the record date for determining the holders of Claims in the Voting

 Classes who would be entitled to vote to accept or reject the Plan.




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                9.      Pursuant to the Conditional Order, DRC relied on the following information

 to identify and solicit holders of Claims and Interests in the Voting Classes: (a) the Schedules of

 Assets and Liabilities filed with the Court by Foundation Healthcare Inc. on July 6, 2016 [Docket

 No. 36] and the Amended Schedules of Assets and Liabilities filed with the Court by Foundation

 Healthcare Inc. on August 4, 2017 [Docket No. 90] ; (b) the Schedules of Assets and Liabilities

 filed with the Court by University General Hospital, LLC on July 6, 2016 [Docket No. 42] and the

 Amended Schedules of Assets and Liabilities filed with the Court by University General Hospital,

 LLC on August 4, 2017 [Docket No. 94] (c) the official claims register maintained by DRC as of

 August 8, 2017 and (d) claims information pertaining to the Debtors’ chapter 11 cases as reflected

 in DRC’s internal database to which this information was loaded. Using this information, and with

 guidance from the Debtors and their advisors, DRC created a voting database reflecting the name,

 address, voting amount, and classification of Claims in the Voting Classes. Using this voting

 database, DRC generated Ballots for holders of Claims entitled to vote to accept or reject the Plan.

                10.     Ballots returned by mail, hand delivery, or overnight delivery were received

 by personnel of DRC at its office in Brooklyn, New York. Ballots received by DRC were

 processed in accordance with the Conditional Order. Upon receiving Ballots, DRC took the

 following actions:

                        a.     The envelopes containing the Ballots were opened, and the contents
                               were removed and stamped with the date and time received. Each
                               Ballot was then scanned into DRC’s system and sequentially
                               numbered (the “Sequence Number”); and

                        b.     DRC then entered into a computer database all pertinent information
                               from each of the Ballots, including among other things, the date and
                               time the Ballot was received, the Sequence Number, the voting
                               dollar amount, whether the creditor submitting the Ballot elected to
                               opt-out of releases contained in Article 10.1.3 of the Plan and
                               whether the creditor submitting the Ballot voted to accept or reject
                               the Plan.



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                11.    In order for a Ballot to be counted as valid, the Ballot must have been

 properly completed in accordance with the Conditional Order and executed by the relevant holder,

 or such holder’s authorized representative, and must have been actually received by DRC by 5:00

 p.m. (prevailing Central Time) on September 1, 2017 (the “Voting Deadline”). All Ballots were

 to be delivered to DRC as follows: (a) if by hand delivery or overnight courier, to Donlin, Recano

 & Company, Inc., Re: Foundation Healthcare, Inc., et al., Attn: Voting Department, 6201 15th

 Avenue, Brooklyn, New York 11219; or (b) if by regular mail, to Donlin, Recano & Company,

 Inc., Re: Foundation Healthcare, Inc., et al., Attn: Voting Department, P.O. Box 192016,

 Blythebourne Station, Brooklyn, New York 11219.

                12.    All validly executed Ballots cast by holders of Claims in the Voting Classes

 received by DRC on or before the Voting Deadline were tabulated as outlined in the Conditional

 Order.

                13.    DRC is in possession of the Ballots received by it, and copies of the same

 are available for review during DRC’s normal business hours at 6201 15th Avenue, Brooklyn,

 New York 11219.




                               [Remainder of page intentionally left blank]




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 III.    The Voting Results

               14.     The results of the aforesaid tabulation of properly executed Ballots received

 on or before the Voting Deadline are set forth below and in the report annexed hereto as Exhibit

 A (the “Final Tabulation Results”).

        CLASSES                             TOTAL BALLOTS RECEIVED
                                       Accept                                 Reject
                                                 NUMBER                                 NUMBER
                            AMOUNT                                 AMOUNT
                                                   (% of                                  (% of
                           (% of Amount                           (% of Amount
                                                  Number                                 Number
                              Voted)                                 Voted)
                                                   voted)                                Voted)

 Class 1 – Allowed
 Secured Claims of         $6,284,895.28                1              $00.00                0
 Prepetition Lenders          (100%)                 (100%)           (0.00%)            (0.00%)
 Claims. (Foundation
 Healthcare, Inc.)
 Class 1A – Allowed
 Secured Claims of
 Prepetition Lenders       $7,622,000.00                1              $00.00                0
 Claims. (University          (100%)                 (100%)           (0.00%)            (0.00%)
 General Hospital,
 LLC)
 Class 4 – Allowed
                              $5,700.00                 1              $00.00                0
 Priority Non-Tax
                               (100%)                (100%)           (0.00%)            (0.00%)
 Claims
 Class 5 – Allowed
 General Unsecured            $20,856.67             5              $250,000.00              1
 Claims (Foundation            (7.70%)           (83.33%)            (92.30%)            (16.67%)
 Healthcare, Inc.)
 Class 5A – Allowed
 General Unsecured
                            $450,936.71             15              $25,901.50               5
 Claims (University
                             (94.57%)            (75.00%)            (5.43%)             (25.00%)
 General Hospital,
 LLC)




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                  15.       At the direction of the Debtors’ counsel, the Ballot submitted directly to the

 Debtors’ counsel by Jocelyn Allgood (Ballot ID: 000435) which was forwarded to the Voting

 Agent via electronically on August 31, 2017 is included in the Final Tabulation Results.

                  16.       A complete list of all defective Ballots with explanatory defective codes is

 set forth on Exhibit B.

                  17.       Exhibit C sets forth the voting results including the implementation of the

 stipulation between the Debtors and Texas Capital Bank (“TCB”), for voting purposes only, as to

 the allocation of TCB’s secured claims and unsecured deficiency claims. Accordingly, TCB’s

 secured claims against the Debtors are set herein for purposes of voting in the amount of

 $7,800,000.00 to be split evenly between the Debtors , with the remaining unsecured claims treated

 as deficiency claims, and therefore general unsecured claims, in the following amounts:2

                        •   Foundation Healthcare Inc. - $2,384,985.28

                        •   University General Hospital LLC - $3,722,000.00

                  18.       A complete list of all Ballots with opt-out of the releases is set forth on

 Exhibit D.

                  I declare under penalty of perjury that the foregoing is true and correct and to the

 best of my knowledge, information and belief.


     Dated: September 5, 2017
            Brooklyn, New York


                                                     /s/ Jung W. Song
                                                    Jung W. Song
                                                    Donlin, Recano & Company, Inc.



 2
  The Debtors and TCB have agreed to stipulate, for voting purposes only, the allocation of TCB’s secured claims
 and unsecured deficiency claims as set forth on Exhibit C.


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                                  EXHIBIT A
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                                                                                 FOUNDATION HEALTHCARE, INC.
                                                                                  Tabulation Report as of 9/1/2017
                                                                                                                                                   Tabulated       Tabulated        Vote     Defect
Class   Ballot ID Acct No.                   Creditor Name                     Authorized Vote Amt Indicated Amt      Variance    Vote  ACC RJC   Accept Amt       Reject Amt       Date     Codes    Opt-Out
  1      000296 380         TEXAS CAPITAL BANK                                         6,284,895.28                              ACCEPT 1    0      6,284,895.28            0.00   8/31/17
                  Totals for Class 1 Secured Claims of Prepetition Lenders - Foundation Healthcare, Inc.
                             Aggregate Class 1 Claim Amount Voted to Accept:           6,284,895.28      100.00%
                              Aggregate Class 1 Claim Amount Voted to Reject:                  0.00       0.00%
                                      Aggregate Class 1 Claim Amount Voted:            6,284,895.28

                           Aggregate Class 1 Claim Quantity Voted to Accept:          1              100.00%
                           Aggregate Class 1 Claim Quantity Voted to Reject:          0               0.00%
                                    Aggregate Class 1 Claim Quantity Voted:           1




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                                                                                 FOUNDATION HEALTHCARE, INC.
                                                                                  Tabulation Report as of 9/1/2017
                                                                                                                                                Tabulated       Tabulated        Vote     Defect
Class   Ballot ID Acct No.                   Creditor Name                     Authorized Vote Amt Indicated Amt   Variance    Vote  ACC RJC   Accept Amt       Reject Amt       Date     Codes    Opt-Out
 1A      000200 105         TEXAS CAPITAL BANK                                          7,622,000.00                          ACCEPT 1    0      7,622,000.00            0.00   8/31/17
                  Totals for Class 1A Secured Claims of Prepetition Lenders - University General Hospital, LLC
                           Aggregate Class 1A Claim Amount Voted to Accept:             7,622,000.00     100.00%
                            Aggregate Class 1A Claim Amount Voted to Reject:                    0.00      0.00%
                                     Aggregate Class 1A Claim Amount Voted:             7,622,000.00

                         Aggregate Class 1A Claim Quantity Voted to Accept:           1              100.00%
                         Aggregate Class 1A Claim Quantity Voted to Reject:           0               0.00%
                                  Aggregate Class 1A Claim Quantity Voted:            1




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                                                                                   FOUNDATION HEALTHCARE, INC.
                                                                                    Tabulation Report as of 9/1/2017
                                                                                                                                                   Tabulated      Tabulated        Vote     Defect
Class   Ballot ID Acct No.                     Creditor Name                   Authorized Vote Amt    Indicated Amt   Variance    Vote  ACC RJC   Accept Amt      Reject Amt       Date     Codes    Opt-Out
  4      000377 7802        MARVELLINE E HARPER                                            5,700.00                              ACCEPT 1    0         5,700.00            0.00   8/29/17
                  Totals for Class 4 Priority Non-Tax Claims - Foundation Healthcare, Inc.
                             Aggregate Class 4 Claim Amount Voted to Accept:               5,700.00     100.00%
                              Aggregate Class 4 Claim Amount Voted to Reject:                  0.00      0.00%
                                       Aggregate Class 4 Claim Amount Voted:               5,700.00

                           Aggregate Class 4 Claim Quantity Voted to Accept:            1               100.00%
                           Aggregate Class 4 Claim Quantity Voted to Reject:            0                0.00%
                                    Aggregate Class 4 Claim Quantity Voted:             1




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                                                                                     FOUNDATION HEALTHCARE, INC.
                                                                                      Tabulation Report as of 9/1/2017
                                                                                                                                                     Tabulated      Tabulated        Vote     Defect
Class   Ballot ID   Acct No.                    Creditor Name                   Authorized Vote Amt     Indicated Amt   Variance    Vote  ACC RJC   Accept Amt      Reject Amt       Date     Codes    Opt-Out
  5      000161     397       ADDISON GROUP                                                  3,964.74                              ACCEPT 1    0         3,964.74            0.00   8/25/17
  5      000435     18424     JOCELYN ALLGOOD                                                    1.00                              ACCEPT 1    0             1.00            0.00   8/31/17
  5      000966     18966     TRAVIS CRENSHAW                                             250,000.00                               REJECT  0   1             0.00      250,000.00   8/23/17            Opt-Out
  5      000073     211       INTELLIGENT IMPLANT SYSTEMS LLC                              16,310.00                               ACCEPT 1    0        16,310.00            0.00   8/18/17
  5      000317     434       UNDERGROUND VAULTS AND STORAGE                                   579.93                              ACCEPT 1    0           579.93            0.00   8/22/17
  5      000085     3795      ROBIN R WEXLER                                                     1.00                              ACCEPT 1    0             1.00            0.00   8/22/17
                    Totals for Class 5 General Unsecured Claims - Foundation Healthcare, Inc.
                               Aggregate Class 5 Claim Amount Voted to Accept:             20,856.67        7.70%
                                Aggregate Class 5 Claim Amount Voted to Reject:           250,000.00       92.30%
                                        Aggregate Class 5 Claim Amount Voted:             270,856.67

                             Aggregate Class 5 Claim Quantity Voted to Accept:            5                83.33%
                             Aggregate Class 5 Claim Quantity Voted to Reject:            1                16.67%
                                      Aggregate Class 5 Claim Quantity Voted:             6




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                                                                                     FOUNDATION HEALTHCARE, INC.
                                                                                      Tabulation Report as of 9/1/2017
                                                                                                                                                     Tabulated      Tabulated        Vote     Defect
Class   Ballot ID   Acct No.                   Creditor Name                    Authorized Vote Amt     Indicated Amt   Variance    Vote  ACC RJC   Accept Amt      Reject Amt       Date     Codes    Opt-Out
 5A      000980     18378     AMTEC MEDICAL INC                                                 73.20                              ACCEPT 1    0            73.20            0.00   8/17/17
 5A      000989     131       ASAHI INTECC USA INC                                          3,527.79                               ACCEPT 1    0         3,527.79            0.00   9/1/17
 5A      000216     159       CERK SECURITY LLC                                            10,922.66                               ACCEPT 1    0        10,922.66            0.00   8/16/17
 5A      000060     94        COMPREHENSIVE PHARMACY SVC LLC                                     1.00                              REJECT  0   1             0.00            1.00   9/1/17             Opt-Out
 5A      000285     343       COMPREHENSIVE PHARMACY SVC LLC                                     1.00                              REJECT  0   1             0.00            1.00   9/1/17             Opt-Out
 5A      000620     18615     ANDRE DENARD                                                       1.00                              ACCEPT 1    0             1.00            0.00   8/24/17
 5A      000222     184       DUCHMAN - CARDIOLOGY                                         12,000.00                               ACCEPT 1    0        12,000.00            0.00   8/23/17
 5A      000223     186       ELEGANT VALET SVC LLC                                        40,740.00                               ACCEPT 1    0        40,740.00            0.00   8/29/17
 5A      000992     193       FRANK STUBBS CO INC                                           3,412.72                               ACCEPT 1    0         3,412.72            0.00   8/16/17
 5A      000431     18412     GLYNIS A SAWYER                                               2,077.03                               ACCEPT 1    0         2,077.03            0.00   9/1/17
 5A      000087     18365     INTELLIGENT IMPLANT SYSTEMS LLC                              16,310.00                               ACCEPT 1    0        16,310.00            0.00   8/18/17
 5A      000127     231       LANTHEUS MEDICAL IMAGING INC                                  3,600.00                               ACCEPT 1    0         3,600.00            0.00   8/31/17            Opt-Out
 5A      000249     263       ORTHOMED                                                     37,790.00                               ACCEPT 1    0        37,790.00            0.00   8/29/17
 5A      000971     269       PARAGON 28 INC                                               25,897.50                               REJECT  0   1             0.00       25,897.50   8/22/17
 5A      000090     41        RX REMOTE SOLUTIONS INC                                            1.00                              REJECT  0   1             0.00            1.00   9/1/17             Opt-Out
 5A      000291     351       RX REMOTE SOLUTIONS INC                                            1.00                              REJECT  0   1             0.00            1.00   9/1/17             Opt-Out
 5A      000432     18417     STT ENTERPRISES INC                                           4,862.00                               ACCEPT 1    0         4,862.00            0.00   8/29/17
 5A      000433     18419     VELINDA SMITH                                                13,645.85                               ACCEPT 1    0        13,645.85            0.00   8/22/17
 5A      000988     106       WOUND CARE ADVANTAGE LLC                                    154,941.46                               ACCEPT 1    0       154,941.46            0.00   8/31/17
 5A      000062     107       XSPINE SYSTEMS INC                                          147,033.00                               ACCEPT 1    0       147,033.00            0.00   8/25/17
                    Totals for Class 5A General Unsecured Claims - University General Hospital, LLC
                             Aggregate Class 5A Claim Amount Voted to Accept:             450,936.71       94.57%
                              Aggregate Class 5A Claim Amount Voted to Reject:             25,901.50        5.43%
                                       Aggregate Class 5A Claim Amount Voted:             476,838.21

                            Aggregate Class 5A Claim Quantity Voted to Accept:           15                75.00%
                            Aggregate Class 5A Claim Quantity Voted to Reject:           5                 25.00%
                                     Aggregate Class 5A Claim Quantity Voted:            20




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                                   EXHIBIT B
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                                                                                               FOUNDATION HEALTHCARE, INC.
                                                                                                Defective Ballots as of 9/1/2017
 Key to Defect Codes:
 A- No signature indicated on ballot
 B- Non-original signature indicated on ballot
 C- Ballot received via facsimile, email, or other electronic transmission
 D- Ballot has been superseded by a subsequently filed Ballot
 E- Ballot/voting data is illegible
 F- Voting entity does not hold a claim in Plan Class set forth on Ballot
 G- Ballot received after the Voting Deadline
 H- Ballot revoked by written request
 I- Ballot revoked by Court order
 J- Ballot indicates neither acceptance nor rejection, or both acceptance and rejection
 K- Only signature page returned
 L- Multiple Intra-class ballots
 N- Ballot submitted on behalf of claims in a non-voting class
 O- Scheduled Ballot Superseded by Filed POC Ballot
 P- Ballot submitted on behalf of director, officer or other insider
 Z- Other Defect

Class   Ballot ID Acct No.               Creditor Name                                    Authorized Vote Amt    Indicated Amt   Variance    Vote  ACC RJC   Accept Amt      Reject Amt      Date     Codes   Opt-Out
 5A      000022 97         HEALTHCARE AFFILIATES INC                                                330,435.00                              REJECT 0    0             0.00            0.00   9/1/17     C




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                                   EXHIBIT C
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                              Foundation Healthcare Inc.

 VOTING RESULTS OF IMPLEMENTATION OF TCB’S STIPULATED DEFICIENCY

     CLASSES                           TOTAL BALLOTS RECEIVED
                                Accept                              Reject
                                          NUMBER                              NUMBER
                        AMOUNT                              AMOUNT
                                            (% of                               (% of
                       (% of Amount                        (% of Amount
                                           Number                              Number
                          Voted)                              Voted)
                                            voted)                             Voted)

 Class 1 – Allowed
 Secured Claims of     $3,900,000.00            1             $00.00               0
 Prepetition Lenders      (100%)             (100%)          (0.00%)           (0.00%)
 Claims. (Foundation
 Healthcare, Inc.)
 Class 1A – Allowed
 Secured Claims of
 Prepetition Lenders   $3,900,000.00            1             $00.00               0
 Claims. (University      (100%)             (100%)          (0.00%)           (0.00%)
 General Hospital,
 LLC)
 Class 4 – Allowed
                         $5,700.00              1             $00.00               0
 Priority Non-Tax
                          (100%)             (100%)          (0.00%)           (0.00%)
 Claims
 Class 5 – Allowed
 General Unsecured     $2,405,841.95          6             $250,000.00            1
 Claims (Foundation      (90.59%)         (85.71%)            (9.41%)          (14.29%)
 Healthcare, Inc.)
 Class 5A – Allowed
 General Unsecured
                       $4,172,936.71         16             $25,901.50             5
 Claims (University
                         (99.38%)         (76.19%)           (0.62%)           (23.81%)
 General Hospital,
 LLC)
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                                                                     FOUNDATION HEALTHCARE, INC.
                                                                       Opt-Out Report as of 9/1/2017
                                                                                                                                    Tabulated      Tabulated        Vote     Defect
Class   Ballot ID   Acct No.                 Creditor Name      Authorized Vote Amt    Indicated Amt   Variance    Vote  ACC RJC   Accept Amt      Reject Amt       Date     Codes    Opt-Out
  5      000966     18966      TRAVIS CRENSHAW                            250,000.00                              REJECT  0   1             0.00      250,000.00   8/23/17            Opt-Out
 5A      000060     94         COMPREHENSIVE PHARMACY SVC LLC                   1.00                              REJECT  0   1             0.00            1.00   9/1/17             Opt-Out
 5A      000285     343        COMPREHENSIVE PHARMACY SVC LLC                   1.00                              REJECT  0   1             0.00            1.00   9/1/17             Opt-Out
 5A      000127     231        LANTHEUS MEDICAL IMAGING INC                 3,600.00                              ACCEPT 1    0         3,600.00            0.00   8/31/17            Opt-Out
 5A      000090     41         RX REMOTE SOLUTIONS INC                          1.00                              REJECT  0   1             0.00            1.00   9/1/17             Opt-Out
 5A      000291     351        RX REMOTE SOLUTIONS INC                          1.00                              REJECT  0   1             0.00            1.00   9/1/17             Opt-Out




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